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                                        UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF OHIO
                                             WESTERN DIVISION


Charline Coleman, individually and on
behalf of all others similarly situated                   :       Case No. 3:19-cv-2251

               Plaintiff,                                 :       JUDGE CARR


       v.                                                 :


AMERICAN COLLECTION SYSTEMS, INC
and John Does 1-25                                        :



               Defendants                                 :



Now comes Defendant, American Collection Systems for its Answer to the Plaintiff’s

Charline Coleman complaint hereby alleges and avers as follows:




                                       FIRST DEFENSE

   1. Defendant admits the allegations contained in paragraphs 1 and 2 of the

       complaint.

   2. Defendant is without knowledge or information sufficient to form a belief as to

       the allegations contained in paragraph 3, 4, 5, 6, 7 of the Plaintiffs' Complaint and

       therefore denies those allegations.

   3. Defendant admits the allegations contained in paragraphs 8, 9, of the complaint.



   4. Defendant is without knowledge or information sufficient to form a belief as to
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   as to all allegations contained in paragraph 10, 11, 12 13, 14, 15, 16, 17, 18, 19, of

   the Plaintiffs' Complaint and therefore denies those allegations.

5. Defendant realleges and reavers the preceding paragraphs as if fully restated

   herein.

6. Defendant is without knowledge or information sufficient to form a belief as to

   the allegations contained in paragraph 21, 22

7. Defendant admits the allegations contained in paragraphs 23, 24, 25, 26, 27 of the

   complaint.

8. Defendant is without knowledge or information sufficient to form a belief as to

   as to all the allegations contained in paragraph 28 of the Plaintiffs' Complaint and

   therefore denies those allegations.

9. Defendant denies all of the allegations contained in paragraph 29, 30, 31, 32, 33

   of the complaint.

10. Defendant realleges and reavers the preceding paragraphs as if fully restated

   herein.

11. Defendant denies all of the allegations contained in paragraph 35 of the

   complaint.

12. Defendant admits the allegations contained in paragraphs 36 of the complaint.

13. Defendant denies all of the allegations contained in paragraph 37, 38 of the

   complaint.

14. Defendant realleges and reavers the preceding paragraphs as if fully restated

   herein.
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    15. Defendant denies all of the allegations contained in paragraph 40, of the

       complaint.

    16. Defendant is without knowledge or information sufficient to form a belief as to

       the allegations contained in paragraph 41 of the Plaintiff’s Complaint and

       therefore denies those allegations.

    17. Defendant denies the allegations contained in paragraph 42, 43 of the complaint.

                                First Affirmative Defense

Defendant denies each and every other allegation not specifically admitted

hereinabove.




                               Second Affirmative Defense

This Court is not the proper place of venue pursuant to 28 U.S.C. §1391

                               Third Affirmative Defense

The Plaintiff have failed to perfect service of process



WHEREFORE, the Defendant has fully answered the Complaint of the Plaintiffs and

ask that this honorable Court dismiss the Complaint of the Plaintiff.



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Respectfully Submitted

/s/ Jonathan Klein 006860
Jonathan Klein 006860
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                            CERTIFICATE OF SERVICE

A copy of the foregoing was served this 1/23/20, via First-Class United
States mail, postage prepaid, and/or electronic mail to the following:

/s/ Jonathan Klein 006860
Jonathan Klein 006860




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